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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS


    PUBLIC HEALTH AND MEDICAL
    PROFESSIONALS FOR TRANSPARENCY,

                                        Plaintiff,                 Civil Action No. ____________
          -against-

    FOOD AND DRUG ADMINISTRATION,

                                        Defendant.


             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


        Plaintiff, as for its Complaint regarding a Freedom of Information Act request against the

above-captioned Defendant, alleges as follows:

                                             INTRODUCTION

        1.       Until only a few weeks ago, all coronavirus vaccines available in the United States

were only authorized for emergency use by the U.S. Food and Drug Administration (the “FDA”). 1

        2.       On August 23, 2021, the FDA approved the Pfizer-BioNTech COVID-19 Vaccine,

marketed as Comirnaty (the “Pfizer Vaccine”) for individuals 16 years of age and older. 2

        3.       Although the FDA asserts that the Pfizer Vaccine “meets the high standards for

safety, effectiveness, and manufacturing quality the FDA requires of an approved product[,]” 3

numerous public health officials, media outlets, journalists, scientists, politicians, public figures,

and others with large social or media platforms have publicly raised questions regarding the

sufficiency of the data and information, the adequacy of the review, and the appropriateness of the



1
   https://www.bmj.com/content/373/bmj.n1244 (last visited 9/5/2021).
2
   https://www.fda.gov/news-events/press-announcements/fda-approves-first-covid-19-vaccine (last visited 9/5/2021).
3
  Id.

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analyses relied upon by the FDA to license the Pfizer Vaccine.

         4.        PHMPT is an organization made up of public health professionals, medical

professionals, scientists, and journalists. PHMPT exists for the sole purpose of disseminating to

the public the data and information in the biological product files for each of the COVID-19

vaccines.

         5.        In furtherance of its mission, and in an effort to ensure that the FDA acts in

furtherance of its commitment to transparency, 4 PHMPT seeks to obtain the data and information

relied upon by the FDA to license the Pfizer Vaccine. The importance of releasing to the public

this information is also recognized under federal law which provides that: “After a license has been

issued, the following data and information in the biological product file are immediately available

for public disclosure unless extraordinary circumstances are shown: (1) All safety and

effectiveness data and information. (2) A protocol for a test or study . . .” 21 C.F.R. § 601.51(e).

         6.        PHMPT therefore issued a request to the FDA pursuant to the Freedom of

Information Act (5 U.S.C. § 552, as amended) (“FOIA”) for “[a]ll data and information for the

Pfizer Vaccine enumerated in 21 C.F.R. § 601.51(e) 5 with the exception of publicly available

reports on the Vaccine Adverse Events Reporting System. 6” (the “FOIA Request”).

         7.        The medical and scientific community and the public have a substantial interest in

reviewing the data and information underlying the FDA’s approval of the Pfizer Vaccine.


4
  https://www.fda.gov/about-fda/transparency (last visited 9/5/2021).
5
  21 C.F.R. § 601.51(e) provides that after a biological product is licensed, the following information shall be made
available for immediate disclosure absent extraordinary circumstances: “(1) All safety and effectiveness data and
information. (2) A protocol for a test or study . . . . (3) Adverse reaction reports, product experience reports, consumer
complaints, and other similar data and information . . . . (4) A list of all active ingredients and any inactive ingredients
. . . . (5) An assay method or other analytical method . . . . (6) All correspondence and written summaries of oral
discussions relating to the biological product file . . . . (7) All records showing the manufacturer’s testing of a particular
lot . . . . (8) All records showing the testing of and action on a particular lot by the [FDA].”
6
  For the avoidance of doubt, the FOIA Request includes but is not limited to all of the data and information in the
biological product file, as defined in 21 C.F.R. § 601.51(a), for the Pfizer Vaccine enumerated in 21 C.F.R. § 601.51(e)
with the exception of publicly available reports on the Vaccine Adverse Events Reporting System.

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Reviewing this information will settle the ongoing public debate regarding the adequacy of the

FDA’s review process. Releasing this data should also confirm the FDA’s conclusion that the

Pfizer Vaccine is safe and effective and, thus, increase confidence in the Pfizer Vaccine.       The

public’s need for this information is urgent given the fact that COVID-19 vaccines are being

mandated to individuals across the country by federal, state, and local governments as well as

private businesses.

       8.      In an effort to disseminate the requested information to the public as expeditiously

as possible, given the time sensitive nature of the issue, PHMPT requested expedited processing

of the FOIA Request pursuant to 5 U.S.C. § 552(a)(6)(E)(v)(II).

       9.      On September 9, 2021, the FDA denied PHMPT’s request for expedited processing

on the basis that PHMPT did “not demonstrate[] a compelling need that involves an imminent

threat to the life or physical safety of an individual” or “that there exists an urgency to inform the

public concerning actual or alleged Federal Government activity.” PHMPT brings this action to

challenge the FDA’s determination and seeks an order compelling the FDA to produce responsive

records on an expedited basis.

                                             PARTIES

       10.     Public Health and Medical Professionals for Transparency is a not-for-profit

organization with an office located at 1090 Texan Trail, Suite 534, Fort Worth, Texas, 76051.

       11.     PHMPT’s members include:

               a.      Aaron Kheriaty, MD
                       Professor of Psychiatry, UCI School of Medicine
                       Director, Medical Ethics Program, UCI Health
               b.      Harvey Risch, MD, PhD
                       Professor of Epidemiology
                       Yale School of Public Health
               c.      Peter A. McCullough, MD, MPH, FACP, FACC,
                       FCCP, FAHA, FNKF, FNLA, FCRSA

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        d.   Carole H Browner, PhD, MPH
             Distinguished Research Professor
             UCLA David Geffen School of Medicine
        e.   Peter Doshi, PhD
             Associate Professor, Pharmaceutical Health Services Research
             University of Maryland School of Pharmacy
             Baltimore, Maryland, U.S.A.
        f.   Linda Wastila, BSPharm, MSPH, PhD
             Professor, Pharmaceutical Health Services Research
             University of Maryland School of Pharmacy
        g.   Andrew Bostom, MD, MS
             Associate Professor of Family Medicine (Research)
             The Warren Alpert Medical School of Brown University
        h.   Erick H. Turner, MD
             Associate Professor
             Oregon Health & Science University
        i.   Aditi Bhargava, PhD
             Professor Emerita
             Department of ObGyn and Reproductive Sciences University of California
             San Francisco
        j.   Joseph A. Ladapo, MD, PhD
             Associate Professor of Medicine
             Division of General Internal Medicine and Health Services Research
             David Geffen School of Medicine at UCLA
        k.   Gabe Vorobiof, MD FACC FASE
             Director, Adult Non-Invasive Cardiology Laboratories
             UCLA Cardiovascular Center
             Associate Clinical Professor of Medicine
             David Geffen School of Medicine at UCLA
        l.   Donald W. Light, PhD
             Professor of Comparative Health Policy and Psychiatry
             Rowan University School of Osteopathic Medicine
             Glassboro, New Jersey, U.S.A.
        m.   Allyson M Pollock, MBChB, FRCPH, FRCP (Ed) FRCGP
             Clinical Professor of Public Health
             Institute of Health and Society, Newcastle University
             Newcastle upon Tyne, United Kingdom
        n.   Anthony J. Brookes, PhD
             Professor of Genetics
             University of Leicester
             Leicester, United Kingdom
        o.   László G. Boros, MD
             Scientific Advisor
             SIDMAP, LLC and the Deutenomics Science Institute
        p.   Angela Spelsberg, MD, SM
             Comprehensive Cancer Center Aachen


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              Aachen, Germany
        q.    Christine Stabell Benn, MD, PhD, DMSc
              Professor of Global Health
              University of Southern Denmark
              Copenhagen, Denmark
        r.    Peter Aaby, MSc, DMSc
              Head of Bandim Health Project, Guinea-Bissau
              University of Southern Denmark
              Copenhagen, Denmark
        s.    Ulrich Keil, MD, PhD, FRCP (London)
              Professor Emeritus
              University of Muenster
              Muenster, Germany
        t.    Barbara Mintzes, BA, MSc, PhD
              Associate Professor, School of Pharmacy
              The University of Sydney
              Sydney, Australia
        u.    David Healy, MD FRCPsych
              Professor of Psychiatry
              McMaster University
              Ontario, Canada
        v.    Tom Jefferson, MD MRCGP FFPHM
              Senior Associate Tutor
              University of Oxford
        w.    Byram W. Bridle, PhD
              Associate Professor of Viral Immunology
              Department of Pathobiology
              University of Guelph, Ontario
        x.    Peter C. Gøtzsche, Professor, DrMedSci, MD, MSc
              Director
              Institute for Scientific Freedom
              Copenhagen, Denmark
        y.    Janice E. Graham, PhD, FRSC, FCAHS
              Division of Infectious Diseases
              University research Professor
              Dalhousie University
        z.    Justin Lee
              Associate Editor
              Arc Digital
        aa.   Serena Tinari
              Co-President, Re-Check, Investigating and Mapping Health Affairs
        bb.   Catherine Riva
              Co-President, Re-Check, Investigating and Mapping Health Affairs
        cc.   Dr. Ira Bernstein, MD
              Dept. Family and Community Medicine
              University of Toronto


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                    dd.     Dr. Ondrej Halgas, PhD
                            Biomedical Researcher
                            University of Toronto
                    ee.     Prof. David Menkes
                            Associate Professor
                            University of Auckland
                    ff.     Dr. Peter Abdelmalak
                            Adjunct Professor
                            McMaster University

           12.      The FDA is an agency within the Executive Branch of the United States

Government, organized within the Department of Health and Human Services. The FDA is an

agency within the meaning of 5 U.S.C. § 552(f).

                                       JURISDICTION AND VENUE

           13.      This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1331. Venue is proper within this District pursuant to 5 U.S.C. § 552(a)(4)(B) and 28

U.S.C. § 1391.

                                                      FACTS

A.         FDA Approval of the Pfizer Vaccine

           14.      On August 23, 2021, the FDA approved the Pfizer Vaccine for individuals 16 years

of age and older. 7

           15.      There is an ongoing, public national debate regarding the adequacy of the data and

information, and analyses of same, relied upon by the FDA to license the Pfizer Vaccine.

           16.      On the one hand, there are numerous public health officials, media outlets,

journalists, scientists, politicians, public figures, and others with large social or media platforms

that have declared that the data and information underlying the licensure of the Pfizer Vaccine is

more than sufficient for licensure.



7
    https://www.fda.gov/news-events/press-announcements/fda-approves-first-covid-19-vaccine (last visited 9/5/2021).

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           17.   For example, in a press release issued on August 23, 2021, acting FDA

Commissioner Janet Woodcock stated that “the public can be very confident that [the Pfizer

Vaccine] meets the high standards for safety, effectiveness, and manufacturing quality the FDA

requires of an approved product.” 8

           18.   Peter Marks, the director of FDA’s Center for Biologics Evaluation and Research,

made similar remarks, stating that

                 [The FDA’s] scientific and medical experts conducted an incredibly
                 thorough and thoughtful evaluation of [the Pfizer Vaccine]. We
                 evaluated scientific data and information included in hundreds of
                 thousands of pages, conducted our own analyses of [the Pfizer
                 Vaccine’s] safety and effectiveness, and performed a detailed
                 assessment of the manufacturing processes, including inspections of
                 the manufacturing facilities[.] 9
           19.   Peter Marks further stated that “although [the FDA] approved [the Pfizer Vaccine]

expeditiously, it was fully in keeping with [the FDA’s] existing high standards for vaccines in the

U.S.” 10

           20.   President Biden also stated that the FDA’s approval meets the “gold standard.” 11

           21.   Even prior to FDA approval of the Pfizer Vaccine, government officials, public

health authorities, and medical professionals repeatedly claimed that COVID-19 vaccines are “safe

and effective.” 12


8
  https://www.fda.gov/news-events/press-announcements/fda-approves-first-covid-19-vaccine (last visited 9/8/2021).
9
  Id.
10
   Id.
11
       https://www.cbsnews.com/news/biden-address-covid-19-vaccine-pfizer-fda-approval-watch-live-stream-today-
2021-08-23/ (last visited 9/8/2021).
12
   See, e.g., https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/safety-of-vaccines.html#:~:text=COVID%
2D19%20vaccines%20are%20safe,vaccine%20as%20soon%20as%20possible. (last visited 9/8/2021). See also
https://www.hhs.gov/ (“COVID-19 vaccines are safe, effective, and free) (last visited 9/8/2021);
https://www.who.int/news-room/feature-stories/detail/vaccine-efficacy-effectiveness-and-protection (“COVID-19
vaccines have proven to be safe, effective and life-saving.”) (last visited 9/8/2021); https://www.
doh.wa.gov/Emergencies/COVID19/VaccineInformation/SafetyandEffectiveness (“COVID-19 vaccines are safe”)
(last visited 9/8/2021); https://www.wlns.com/news/gov-whitmer-and-dr-khaldun-respond-to-the-fda-approval-of-
pfizers-covid-19-vaccine/ (quoting Governor Whitmer referring to the Pfizer Vaccine as a “safe, effective COVID-19

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         22.      On the other hand, numerous public health officials, media outlets, journalists,

scientists, politicians, public figures, and others with large social or media platforms have publicly

raised questions regarding the sufficiency of the data and information, adequacy of the review, and

appropriateness of the analyses relied upon to license the Pfizer Vaccine, including a number of

the scientists and journalists that are members of PHMPT.

         23.      For example, on June 1, 2021, a group of 27 clinicians and scientists, including

professors from Harvard Medical School and the UCLA School of Public Health, and members of

PHMPT, filed a Citizen Petition 13 with the FDA, claiming that the available evidence for licensure

of the Pfizer Vaccine “is simply not mature enough at this point to adequately judge whether

clinical benefits outweigh the risks in all populations.” 14

         24.      Separately, Professor Peter Doshi, a PHMPT member, has publicly questioned the

lack of transparency regarding the vaccine approval process, 15 which Peter Marks publicly

disputed. 16 For example, Peter Doshi publicly claimed that the FDA’s EUA review of the Pfizer

Vaccine “seem[ed] wholly inadequate” because it “assigned only a single reviewer in each of two

key scientific disciplines (clinical and statistics) to do the work in three weeks that usually takes

months to do.” 17 In response, Peter Marks asserted that the reviewers Doshi referred to “are simply

the leads for each review discipline” but failed to identify a single additional individual involved



vaccine”) (last visited 9/8/2021).
13
   https://www.regulations.gov/document/FDA-2021-P-0521-0001 (last visited 9/8/2021).
14
   See https://blogs.bmj.com/bmj/2021/06/08/why-we-petitioned-the-fda-to-refrain-from-fully-approving-any-covid-
19-vaccine-this-year/ (last visited 9/8/2021).
15
   See https://blogs.bmj.com/bmj/2021/08/23/does-the-fda-think-these-data-justify-the-first-full-approval-of-a-covid-
19-vaccine/ (last visited 9/8/2021); https://blogs.bmj.com/bmj/2021/01/04/peter-doshi-pfizer-and-modernas-95-
effective-vaccines-we-need-more-details-and-the-raw-data/ (last visited 9/8/2021); https://blogs.bmj.com/bmj/2020/
11/26/peter-doshi-pfizer-and-modernas-95-effective-vaccines-lets-be-cautious-and-first-see-the-full-data/        (last
visited 9/8/2021).
16
       https://www.statnews.com/2020/12/17/did-the-fda-understaff-its-review-of-the-pfizer-biontech-vaccine/ (last
visited 9/8/2021).
17
   Id.

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in the review. 18

        25.      Peter Doshi has also questioned the adequacy of the data on the basis that the Pfizer

Vaccine is only “13 months into the still ongoing, two year pivotal trial, with no reported data past

13 March 2020, unclear efficacy after six months due to unblinding, evidence of waning protection

irrespective of the Delta variant, and limited reporting of safety data.” 19

        26.      Andrew Kheriaty, professor of psychiatry at UCI School of Medicine, Director of

the Medical Ethics Program at UCI Health, 20 and also a member of PHMPT, has also questioned

the FDA’s approval process. For example, in an article published in the Wall Street Journal, Dr.

Kheriaty questioned the need for student vaccination requirements based on, among other things,

a review 21 by the FDA’s Vaccines and Related Biological Products Advisory Committee

(“VRBPAC”) that indicates a risk of heart inflammation after vaccination. 22

        27.      Government officials have raised similar concerns about the lack of transparency

in the review process, arguing that it is “essential” for the FDA to, among other things, “make the

data generated by clinical trials and supporting documents submitted to the FDA by developers

available to the public[.]” 23 Despite all eyes on the COVID-19 vaccines and calls for transparency

regarding the FDA’s actions, the FDA did not convene its advisory group, VRBPAC, to have a

public meeting prior to licensure. Those interested were denied the opportunity to both hear

discussion about the data and to offer public comment about same.


18
    Id.
19
   https://blogs.bmj.com/bmj/2021/08/23/does-the-fda-think-these-data-justify-the-first-full-approval-of-a-covid-19-
vaccine/ (last visited 9/8/2021).
20
    https://www.aaronkheriaty.com/bio (last visited 9/8/2021).
21
    https://www.fda.gov/media/150054/download (last visited 9/8/2021).
22
      https://www.wsj.com/articles/university-vaccine-mandates-violate-medical-ethics-11623689220 (last visited
9/8/2021).
23
   https://www.warren.senate.gov/imo/media/doc/2020.09.14%20Letter%20to%20FDA%20re%20transparency%20i
n%20vaccine%20review%20process_.pdf (last visited 9/8/2021). See also https://www.washingtontimes.com/
news/2021/aug/23/editorial-the-coincidental-timing-of-pfizers-vacci/ (last visited 9/8/2021).

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B.       Vaccine Requirements

         28.      Over the objections of many, the Pfizer Vaccine is being mandated to individuals

across the country by the federal government, 24 local governments, 25 public and private

employers, 26 universities, 27 schools, 28 and various other institutions, 29 and many more entities are

expected to follow suit. 30

         29.      At the federal level, legislation was recently introduced that would require COVID-


24
   See, e.g., https://www.natlawreview.com/article/covid-19-vaccine-added-to-requirements-green-card-processing-
effective-oct-1 (last visited 9/8/2021); https://apnews.com/article/business-health-coronavirus-pandemic-
coronavirus-vaccine-4cf7451267919302de4a7b591508e80c (last visited 9/8/2021); https://www.forbes.com/
sites/joewalsh/2021/08/09/us-military-will-require-covid-vaccinations-by-mid-september/?sh=78defacd6c9f           (last
visited 9/8/2021); https://www.whitehouse.gov/briefing-room/statements-releases/2021/07/29/fact-sheet-president-
biden-to-announce-new-actions-to-get-more-americans-vaccinated-and-slow-the-spread-of-the-delta-variant/ (last
visited 9/8/2021).
25
     See, e.g., https://www.cnn.com/2021/08/12/us/san-francisco-vaccine-requirement/index.html (last visited
9/8/2021); https://www1.nyc.gov/site/doh/covid/covid-19-vaccines-keytonyc.page (last visited 9/8/2021); https://
news.yahoo.com/orleans-now-requires-proof-vaccination-230433492.html (last visited 9/8/2021).
26
     See, e.g., https://www.cnbc.com/2021/08/06/united-airlines-vaccine-mandate-employees.html (last visited
9/8/2021);     https://sanfrancisco.cbslocal.com/2021/08/02/covid-kaiser-permanente-makes-vaccination-mandatory-
for-all-employees/ (last visited 9/8/2021); https://abcnews.go.com/Health/wireStory/walmart-mandates-vaccines-
workers-headquarters-79177220 (last visited 9/8/2021); https://www.kpbs.org/news/2021/aug/17/encinitas-covid-19-
vaccine-negative-test-employees/ (last visited 9/8/2021); https://www.cnbc.com/2021/08/09/covid-vaccine-
mandates-sweep-across-corporate-america-as-delta-surges.html (last visited 9/8/2021); https://www.reuters.com
/business/energy/chevron-begins-covid-19-vaccination-mandates-wsj-2021-08-23/ (last visited 9/8/2021); https://
thehill.com/policy/healthcare/569051-pfizers-full-approval-triggers-new-vaccine-mandates (last visited 9/8/2021);
https://cvshealth.com/news-and-insights/statements/cvs-health-will-require-covid-19-vaccinations-for-clinical-and-
corporate-employees (last visited 9/8/2021).
27
   See https://universitybusiness.com/state-by-state-look-at-colleges-requiring-vaccines/ (last visited 9/8/2021). See
also, e.g., https://www.nbcnews.com/health/health-news/colleges-universities-covid-vaccination-mandates-facing-
pushback-n1273916 (last visited 9/8/2021); https://www.colorado.edu/covid-19-updates/covid-19-vaccination (last
visited 9/8/2021); https://uhs.berkeley.edu/requirements/covid19 (last visited 9/8/2021); https://huhs.harvard
.edu/covid-19-vaccine-requirement-faqs (last visited 9/8/2021); https://www2.gmu.edu/safe-return-campus
/vaccination-requirements (last visited 9/8/2021); https://www.pc.pitt.edu/news/vaccine-disclosure-requirements-
2021-2022-campus-housing (last visited 9/8/2021)
28
   See, e.g., https://www.npr.org/sections/back-to-school-live-updates/2021/08/20/1029837338/a-california-school-
district-mandates-vaccines-for-eligible-students (last visited 9/8/2021); https://patch.com/massachusetts/salem
/salem-school-committee-approves-vaccine-mandate-sports-band (last visited 9/8/2021); https://www.nbcnewyork
.com/news/coronavirus/nyc-will-require-vaccination-for-high-risk-school-sports/3232745/ (last visited 9/8/2021);
https://www.nj.com/hudson/2021/08/hoboken-believed-to-be-first-in-state-to-issue-mandate-for-students-12-and-up-
get-vaccine-or-face-weekly-testing.html (last visited 9/8/2021); https://www.mercurynews.com/2021/08/19/la-
county-school-district-mandates-covid-vaccines-for-k12-kids-others-soon-may-follow/ (last visited 9/8/2021).
29
    See, e.g., https://www.reuters.com/world/us/new-york-city-mandates-covid-19-vaccine-public-school-teachers-
staff-mayor-2021-08-23/ (last visited 9/8/2021); https://www.cbsnews.com/news/california-covid-vaccine-teachers-
mandate/ (last visited 9/8/2021); https://www.nytimes.com/2021/08/18/us/washington-state-teacher-vaccine-
mandate.html (last visited 9/8/2021); https://www.governor.ny.gov/news/governor-cuomo-announces-covid-19-
vaccination-mandate-healthcare-workers (last visited 9/8/2021); https://www.cdph.ca.gov/Programs/CID/DCDC

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19 vaccines for air travel into or out of the United States 31 and the Pentagon has mandated COVID-

19 vaccines for all military personnel. 32 In addition, Present Biden recently announced vaccine

mandates for all employers with 100 or more employees, all federal employees, and all employees

of federal contractors. 33

         30.      At the state level, legislation has been introduced to require COVID-19 vaccines

for all post-secondary students, 34 all state employees, 35 and even for all citizens of the state. 36

         31.      As explained by Dr. Anthony Fauci, “a flood” of vaccine mandates will follow

FDA approval of a COVID-19 vaccine 37 and President Biden is actively encouraging “companies

in the private sector to step up the vaccine requirements[.]” 38


/Pages/COVID-19/FAQ-Health-Care-Worker-Vaccine-Requirement.aspx (last visited 9/8/2021); https://www.
nytimes.com/2021/08/09/us/washington-state-workers-vaccine-mandate.html (last visited 9/8/2021); https://www.
denvergov.org/Government/COVID-19-Information/Public-Health-Orders-Response/News-Updates/2021/Mayor-
Hancock-Announces-COVID-19-Vaccine-Requirement-for-Employees (last visited 9/8/2021); See https://www.
bostonherald.com/2021/08/19/baker-issues-vaccine-mandate-for-42000-state-employees/ (last visited 9/8/2021).
30
    See https://www.mississippifreepress.org/15126/fda-fully-approves-pfizer-biontech-vaccine-mandates-to-follow/
(last visited 9/8/2021); https://www.huffpost.com/entry/vaccine-mandates-roll-out-fda-approval_n_6123e028e4b0
df3eacd5d657 (last visited 9/8/2021); https://www.theadvocate.com/baton_rouge/news/coronavirus/article_9be6
d02c-0434-11ec-b7b1-cb17d8495274.html?utm_medium=social&utm_source=twitternoladotcom&utm_campaign=
snd (last visited 9/8/2021). See also https://www.latimes.com/california/story/2021-08-26/california-lawmakers-
grapple-with-statewide-covid-19-vaccine-mandate (last visited 9/8/2021).
31
    https://www.congress.gov/bill/117th-congress/house-bill/4980?q=%7B%22search%22:%5b%224980%252 (last
visited 8/23/2021).
32
      https://thehill.com/policy/defense/568996-pentagon-to-mandate-covid-19-vaccine-for-military (last visited
8/23/2021).
33
    https://www.whitehouse.gov/covidplan/ (last visited 9/13/2021). See also https://www.cnn.com/2021/09/09/
politics/joe-biden-covid-speech/index.html (last visited 9/13/2021).
34
     See New York bill S6495 available at https://www.nysenate.gov/legislation/bills/2021/S6495 (last visited
9/8/2021).
35
      See, e.g., https://www.nj.com/coronavirus/2021/08/murphy-orders-vaccination-requirement-for-all-nj-state-
workers-including-at-public-colleges.html (last visited 9/8/2021).
36
   See New York bill A11179 available at https://www.nysenate.gov/legislation/bills/2019/A11179. See generally
https://eastcountytoday.net/buffy-wicks-transportation-bill-could-become-california-vaccine-passport-bill/       (last
visited 9/8/2021).
37
   https://www.usatoday.com/story/news/health/2021/08/06/anthony-fauci-covid-vaccine-mandates-fda-full-approval
/5513121001/ (last visited 9/8/2021).
38
         https://www.msn.com/en-us/news/us/biden-urges-private-companies-to-implement-covid-19-vaccine-require
ments-following-pfizer-e2-80-99s-fda-approval/ar-AANEcYs?ocid=uxbndlbing (last visited 9/8/2021). See also
https://www.nytimes.com/2021/08/23/us/pfizer-vaccine-mandates.html (noting that FDA approval of the Pfizer
Vaccine “is opening the way for institutions like the military, corporate employers, hospitals and school districts to
announce vaccine mandates for their employees”) (last visited 8/23/2021); https://www.msn.com/en-us/news/us/now-

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         32.       More recently, it appears that mandates may now encompass additional booster

shots of the vaccine in order to retain a “fully vaccinated” status. 39

C.       The FOIA Request

         33.       In furtherance of PHMPT’s mission to disseminate information to the public, and

in an effort to ensure that the FDA acts consistently with its commitment to transparency, 40 on

August 27, 2021, PHMPT submitted the FOIA Request to the FDA. Pursuant to the FOIA Request,

PHMPT requested that the following documents be produced on an expedited basis:

                   All data and information for the Pfizer Vaccine enumerated in
                   21 C.F.R. § 601.51(e) 41 with the exception of publicly available
                   reports on the Vaccine Adverse Events Reporting System. 42

(Exhibit A.1.) 43

         34.       Upon submitting the FOIA Request, PHMPT immediately received confirmation

that the FOIA Request was submitted successfully. (Exhibit A.2.)




that-a-covid-19-shot-is-fully-approved-employer-mandates-are-rolling-in-but-will-vaccination-rates-in-the-us-go-up
/ar-AANGDTy?ocid=uxbndlbing (last visited 8/23/2021); https://news.yahoo.com/surgeon-general-vivek-murthy-
says-205530053.html (quoting the Surgeon General referring to vaccine mandates as “reasonable”) (last visited
8/23/2021).
39
    See https://www.nbcnews.com/health/health-news/u-s-announces-plan-offer-boosters-all-americans-starting-late-
n1277059 (quoting the U.S. Surgeon General stating “it is our clinical judgment that the time to lay out a plan for
Covid-19 boosters is now”) (last visited 9/13/2021); https://www.youtube.com/watch?v=ciVGAPuruoQ at 17:21
(video of Rochelle P. Walensky, Director of the CDC, stating “we are planning for Americans to receive booster
shots”) (last visited 9/13/2021).
40
        https://www.fda.gov/news-events/press-announcements/fda-approves-first-covid-19-vaccine              (last     visited
9/5/2021).
41
   21 C.F.R. § 601.51(e) provides that after a biological product is licensed, the following information shall be made
available for immediate disclosure absent extraordinary circumstances: “(1) All safety and effectiveness data and
information. (2) A protocol for a test or study . . . . (3) Adverse reaction reports, product experience reports, consumer
complaints, and other similar data and information . . . . (4) A list of all active ingredients and any inactive ingredients
. . . . (5) An assay method or other analytical method . . . . (6) All correspondence and written summaries of oral
discussions relating to the biological product file . . . . (7) All records showing the manufacturer’s testing of a particular
lot . . . . (8) All records showing the testing of and action on a particular lot by the [FDA].”
42
   For the avoidance of doubt, this request includes but is not limited to all of the data and information in the biological
product file, as defined in 21 C.F.R. § 601.51(a), for the Pfizer Vaccine enumerated in 21 C.F.R. § 601.51(e) with the
exception of publicly available reports on the Vaccine Adverse Events Reporting System.
43
   All “Exhibits” referenced herein are attached to this Complaint.

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        35.      On August 31, 2021, the FDA issued an acknowledgment and assigned case

number 2021-5683 to the FOIA Request. (Exhibit A.3.)

D.      Request for Expedited Processing

        36.      In the FOIA Request, PHMPT requested that the FDA process the FOIA Request

on an expedited basis pursuant to 5 U.S.C. § 552(a)(6)(E)(v)(II).

        37.      On September 9, 2021, the FDA denied PHMPT’s request for expedited processing

of the FOIA Request (the “Denial Letter”). 44 In the Denial Letter, the FDA stated in relevant

part:

                 I have determined that your request for expedited processing does
                 not meet the criteria under the FOIA. You have not demonstrated a
                 compelling need that involves an imminent threat to the life or
                 physical safety of an individual. Neither have you demonstrated that
                 there exists an urgency to inform the public concerning actual or
                 alleged Federal Government activity. Therefore, I am denying your
                 request for expedited processing.

(Exhibit A.4.)
                                                ARGUMENT
        38.      FOIA provides for “expedited processing of request for records” upon a showing

of “compelling need.” 5 U.S.C. § 552(a)(6)(E)(i)(II). When the person requesting information is

“primarily engaged in disseminating information urgency to inform the public concerning actual

or alleged Federal Government activity” constitutes a “compelling need” for expedited processing.

5 U.S.C. § 552(a)(6)(E)(v)(II).

        39.      PHMPT requested expedited processing of the FOIA Request on the basis that it is

“primarily engaged in disseminating information” and that there is an “urgency to inform the

public concerning actual or alleged Federal Government activity.” In the Denial Letter, the FDA


44
   The FOIA requires federal agencies to issue determinations on requests for expedited processing within ten days
from the date of the request. 5 U.S.C. § 552(a)(6)(E)(ii)(I). The FDA’s denial of PHMPT’s request for expedited
processing was issued 13 days after PHMPT issued the FOIA Request.

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challenged PHMPT’s request for expedited processing only on the basis that PHMPT allegedly

failed to “demonstrate[] a compelling need that involves an imminent threat to the life or physical

safety of an individual” or “that there exists an urgency to inform the public concerning actual or

alleged Federal Government activity.” As explained below, the FDA is wrong as there is an urgent

need for the medical and scientific community and the public to review the data and information

underlying the FDA’s approval of the Pfizer Vaccine.

       40.     The FDA does not and cannot challenge that PHMPT is “primarily engaged in

disseminating information.” PHMPT is an organization made up of public health professionals,

medical professionals, scientists, and journalists.     PHMPT exists for the sole purpose of

disseminating to the public the data and information in the biological product files for each of the

COVID-19 vaccines. PHMPT intends to make any records produced in response to the FOIA

request immediately available to the public through both its website and its individual members’

platforms. Many of PHMPT’s individual members, including all its members that are journalists,

are primarily engaged in disseminating information to the public and do so across various




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platforms, including through interviews, 45 articles, 46 blogs, 47 essays, 48 and podcasts. 49 Therefore,

PHMPT and many of its members are “primarily engaged in disseminating information to the

general public,” and, as explained below, there is a clear “urgency to inform the public concerning

actual or alleged Federal Government activity,” here, the data and information underlying the

licensure by the FDA of the Pfizer Vaccine.

         41.      In determining whether there is “urgency to inform the public,” courts consider:

“(1) whether the request concerns a matter of current exigency to the American public; (2) whether

the consequences of delaying a response would compromise a significant recognized interest; and

(3) whether the request concerns federal government activity.” Al-Fayed v. CIA, 254 F.3d 300, 310

(D.D.C. 2001). All three factors are present here.

         42.      The FOIA Request concerns a matter of current exigency to the American public.



45
      See, e.g., https://www.foxnews.com/transcript/ingraham-angle-on-mask-mandates-bidens-failure-in-his-role
(Harvey Risch) (last visited 8/26/2021)
46
   See, e.g., https://www.bmj.com/content/373/bmj.n1244 (Peter Doshi) (last visited 9/8/2021); https://www.bmj.com
/content/371/bmj.m4058 (Peter Doshi) (last visited 9/8/2021); https://www.bmj.com/content/371/bmj.m4037 (Peter
Doshi) (last visited 9/8/2021); https://www.wsj.com/articles/are-covid-vaccines-riskier-than-advertised-11624381749
(last     visited     8/25/2021);      https://www.wsj.com/articles/university-vaccine-mandates-violate-medical-ethics-
11623689220           (Aaron      Kheriaty       and    Gerard      V.     Bradley)       (last   visited    9/8/2021);
https://thefederalist.com/2021/07/05/how-college-covid-vaccine-mandates-put-students-in-danger/ (Andrew Bostom,
Aaron Kheriaty, Peter A. McCullough, Harvey A. Rish, Michelle Cretella, and Gerard V. Bradley) (last visited
9/8/2021);        https://thefederalist.com/2021/08/18/why-forcing-unvaccinated-students-to-wear-cloth-masks-is-anti-
science/ (Andrew Bostom, Gerard Bradley, Aaron Kheriaty, and Harvey Risch) (last visited 9/8/2021);
https://www.bmj.com/content/bmj/374/bmj.n1737.full.pdf (Serena Tinari and Catherine Riva) (last visited 9/8/2021);
https://www.bmj.com/content/372/bmj.n627               (Serena        Tinari)       (last       visited      9/8/2021);
https://ebm.bmj.com/content/early/2021/08/08/bmjebm-2021-111735 (Sarah Tanveer, Anisa Rowhani-Farid,
Kyungwan Hong, Tom Jefferson, Peter Doshi) (last visited 9/8/2021); https://www.arcdigital.media/p/medical-
ethicist-sues-the-university (Justin Lee) (last visited 9/8/2021).
47
   See, e.g., https://blogs.bmj.com/bmj/2021/08/23/does-the-fda-think-these-data-justify-the-first-full-approval-of-a-
covid-19-vaccine/ (Peter Doshi) (last visited 9/8/2021); https://blogs.bmj.com/bmj/2020/11/26/peter-doshi-pfizer-
and-modernas-95-effective-vaccines-lets-be-cautious-and-first-see-the-full-data/ (Peter Doshi) (last visited 9/8/2021).
See also https://www.re-check.ch/wordpress/en/covid-certificate/ (Catherine Riva and Serena Tinari) (last visited
9/8/2021).
48
       See https://www.andrewbostom.org/2021/06/why-collegiate-covid-19-vaccine-mandates-are-lysenkoist-anti-
science/ (Andrew Bostom) (last visited 9/8/2021).
49
   See, e.g., https://www.andrewbostom.org/2021/05/dr-andrew-bostom-discusses-the-unfavorable-risk-benefit-ratio-
of-covid-19-vaccination-of-very-low-covid-19-risk-12-to-17-year-olds-with-pfizers-emergency-use-authorization-
only-mrna-vaccine/ (Andrew Bostom) (last visited 9/8/2021).

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The FDA itself acknowledges this exigency in the Code of Federal Regulations, which expressly

provides that “[a]fter a license has been issued, the following data and information in the biological

product file are immediately available for public disclosure unless extraordinary circumstances are

shown: (1) All safety and effectiveness data and information. . . .” 21 C.F.R. § 601.51(e) (emphasis

added). The FDA’s own regulations thus expressly recognize the importance of having the data

and information relied upon to license a vaccine “immediately available for public disclosure.” Id.

The FDA’s regulation not only supports the need for expedited treatment under FOIA but is also

an independent legal basis that requires expedited treatment of the FOIA Request.

        43.      This policy is not surprising given the FDA’s commitment to transparency and its

entire program to assure transparency, because a lack of transparency erodes the confidence the

medical and scientific community and the public have in the conclusions reached by the FDA. 50

        44.      Beyond the FDA’s own regulations which admit the urgent need for transparency

and immediate disclosure in this situation, there are two additional reasons that warrant expedited

treatment of this request.

        45.      First, as explained above, there is an ongoing, public national debate regarding the

adequacy of the data and information, and analyses of same, relied upon by the FDA to license the

Pfizer Vaccine.

        46.      Although public health officials, media outlets, journalists, scientists, politicians,

public figures, and others with large social or media platforms that have declared that the data and


50
   https://www.fda.gov/about-fda/transparency (last visited 9/8/2021). As required by Congress, the FDA may only
license vaccines that have been proven to be “safe and effective,” see, e.g., 21 U.S.C. § 393, and the FDA makes this
determination based on, inter alia, clinical trial reports provided by the sponsor which must be sufficient to
demonstrate the product is both “safe” and “effective.” 21 C.F.R. 601.2(a). The FDA explains in its guidance
materials that the clinical trials relied upon for approval are typically “1 to 4 years”
(https://www.fda.gov/patients/drug-development-process/step-3-clinical-research) and the duration of clinical trials
should “reflect the product and target condition.” https://www.fda.gov/media/102332/download (last visited
9/8/2021). See also https://www.fda.gov/consumers/consumer-updates/it-really-fda-approved (last visited 9/8/2021);
https://www.fda.gov/about-fda/what-we-do (last visited 9/8/2021).

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information underlying the licensure of the Pfizer Vaccine is more than sufficient for licensure, 51

numerous public health officials, media outlets, journalists, scientists, politicians, public figures,

and others with large social or media platforms have publicly raised questions regarding the

sufficiency of the data and information, the adequacy of the review, and appropriateness of the

analyses relied upon to license the Pfizer Vaccine, including a number of the scientists and

journalists that are members of PHMPT. 52

        47.      The public debate is unlikely to be settled without full disclosure of the data and

information underlying the FDA’s conclusion that the Pfizer Vaccine is “safe and effective.”

        48.      Given the widespread and ongoing public debate, the medical and scientific

community and the public has an immediate need to review the data and information underlying

the licensure of the Pfizer Vaccine. Public disclosure of this information will inform this ongoing

public debate.

        49.      There is also an urgent need for the public to have immediate access to the data and

information underlying the licensure of the Pfizer Vaccine because, over the objections of many,

this product is being mandated to individuals across the country by the federal government, 53 local




51
   See, e.g., supra ¶¶ 16-21.
52
   See, e.g., supra ¶¶ 22-27.
53
   See, e.g., https://www.natlawreview.com/article/covid-19-vaccine-added-to-requirements-green-card-processing-
effective-oct-1 (last visited 9/8/2021); https://apnews.com/article/business-health-coronavirus-pandemic-
coronavirus-vaccine-4cf7451267919302de4a7b591508e80c (last visited 9/8/2021); https://www.forbes.com/
sites/joewalsh/2021/08/09/us-military-will-require-covid-vaccinations-by-mid-september/?sh=78defacd6c9f     (last
visited 9/8/2021); https://www.whitehouse.gov/briefing-room/statements-releases/2021/07/29/fact-sheet-president-
biden-to-announce-new-actions-to-get-more-americans-vaccinated-and-slow-the-spread-of-the-delta-variant/ (last
visited 9/8/2021).

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                 54
governments,          public and private employers, 55 universities,          56
                                                                                   schools, 57 and various other

institutions, 58 and many are expected to follow suit. 59

         50.      During a time when COVID-19 vaccine mandates are being implemented 60 over




54
     See, e.g., https://www.cnn.com/2021/08/12/us/san-francisco-vaccine-requirement/index.html (last visited
9/8/2021); https://www1.nyc.gov/site/doh/covid/covid-19-vaccines-keytonyc.page (last visited 9/8/2021); https://
news.yahoo.com/orleans-now-requires-proof-vaccination-230433492.html (last visited 9/8/2021).
55
     See, e.g., https://www.cnbc.com/2021/08/06/united-airlines-vaccine-mandate-employees.html (last visited
9/8/2021);      https://sanfrancisco.cbslocal.com/2021/08/02/covid-kaiser-permanente-makes-vaccination-mandatory-
for-all-employees/ (last visited 9/8/2021); https://abcnews.go.com/Health/wireStory/walmart-mandates-vaccines-
workers-headquarters-79177220 (last visited 9/8/2021); https://www.kpbs.org/news/2021/aug/17/encinitas-covid-19-
vaccine-negative-test-employees/ (last visited 9/8/2021); https://www.cnbc.com/2021/08/09/covid-vaccine-
mandates-sweep-across-corporate-america-as-delta-surges.html (last visited 9/8/2021); https://www.reuters.com
/business/energy/chevron-begins-covid-19-vaccination-mandates-wsj-2021-08-23/ (last visited 9/8/2021); https://
thehill.com/policy/healthcare/569051-pfizers-full-approval-triggers-new-vaccine-mandates (last visited 9/8/2021);
https://cvshealth.com/news-and-insights/statements/cvs-health-will-require-covid-19-vaccinations-for-clinical-and-
corporate-employees (last visited 9/8/2021).
56
   See https://universitybusiness.com/state-by-state-look-at-colleges-requiring-vaccines/ (last visited 9/8/2021). See
also, e.g., https://www.nbcnews.com/health/health-news/colleges-universities-covid-vaccination-mandates-facing-
pushback-n1273916 (last visited 9/8/2021); https://www.colorado.edu/covid-19-updates/covid-19-vaccination (last
visited 9/8/2021); https://uhs.berkeley.edu/requirements/covid19 (last visited 9/8/2021); https://huhs.harvard
.edu/covid-19-vaccine-requirement-faqs (last visited 9/8/2021); https://www2.gmu.edu/safe-return-campus
/vaccination-requirements (last visited 9/8/2021); https://www.pc.pitt.edu/news/vaccine-disclosure-requirements-
2021-2022-campus-housing (last visited 9/8/2021)
57
   See, e.g., https://www.npr.org/sections/back-to-school-live-updates/2021/08/20/1029837338/a-california-school-
district-mandates-vaccines-for-eligible-students (last visited 9/8/2021); https://patch.com/massachusetts/salem
/salem-school-committee-approves-vaccine-mandate-sports-band (last visited 9/8/2021); https://www.nbcnewyork
.com/news/coronavirus/nyc-will-require-vaccination-for-high-risk-school-sports/3232745/ (last visited 9/8/2021);
https://www.nj.com/hudson/2021/08/hoboken-believed-to-be-first-in-state-to-issue-mandate-for-students-12-and-up-
get-vaccine-or-face-weekly-testing.html (last visited 9/8/2021); https://www.mercurynews.com/2021/08/19/la-
county-school-district-mandates-covid-vaccines-for-k12-kids-others-soon-may-follow/ (last visited 9/8/2021).
58
    See, e.g., https://www.reuters.com/world/us/new-york-city-mandates-covid-19-vaccine-public-school-teachers-
staff-mayor-2021-08-23/ (last visited 9/8/2021); https://www.cbsnews.com/news/california-covid-vaccine-teachers-
mandate/ (last visited 9/8/2021); https://www.nytimes.com/2021/08/18/us/washington-state-teacher-vaccine-
mandate.html (last visited 9/8/2021); https://www.governor.ny.gov/news/governor-cuomo-announces-covid-19-
vaccination-mandate-healthcare-workers (last visited 9/8/2021); https://www.cdph.ca.gov/Programs/CID/DCDC
/Pages/COVID-19/FAQ-Health-Care-Worker-Vaccine-Requirement.aspx (last visited 9/8/2021); https://www.
nytimes.com/2021/08/09/us/washington-state-workers-vaccine-mandate.html (last visited 9/8/2021); https://www.
denvergov.org/Government/COVID-19-Information/Public-Health-Orders-Response/News-Updates/2021/Mayor-
Hancock-Announces-COVID-19-Vaccine-Requirement-for-Employees (last visited 9/8/2021); See https://www.
bostonherald.com/2021/08/19/baker-issues-vaccine-mandate-for-42000-state-employees/ (last visited 9/8/2021).
59
    See https://www.mississippifreepress.org/15126/fda-fully-approves-pfizer-biontech-vaccine-mandates-to-follow/
(last visited 9/8/2021); https://www.huffpost.com/entry/vaccine-mandates-roll-out-fda-approval_n_6123e028e4b0
df3eacd5d657 (last visited 9/8/2021); https://www.theadvocate.com/baton_rouge/news/coronavirus/article_9be6
d02c-0434-11ec-b7b1-cb17d8495274.html?utm_medium=social&utm_source=twitternoladotcom&utm_campaign=
snd (last visited 9/8/2021). See also https://www.latimes.com/california/story/2021-08-26/california-lawmakers-
grapple-with-statewide-covid-19-vaccine-mandate (last visited 9/8/2021).
60
   See, e.g., supra ¶¶ 28-32.

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the objection of those that have questions about the data and information supporting the safety and

efficacy of the Pfizer Vaccine, and individuals with these questions are being expelled from

employment, school, transportation, restaurants, entertainment facilities, and the military, the

public has an urgent and immediate need to have access to this data. The urgent need for the public

to review this data is heightened by President Biden’s recent announcement of vaccine mandates

for millions of Americans, including employers with 100 or more employees, federal employees,

and employees of federal contractors. 61

        51.     PHMPT will forthwith disseminate any information it obtains in response to the

FOIA Request. PHMPT, as an entity primarily engaged in disseminating information, has a

recognized interest in timely contributing to the ongoing public debate regarding the adequacy of

the data and information underlying the FDA’s approval of the Pfizer Vaccine.

        52.     Finally, the information PHMPT seeks concerns actual or alleged federal

government activity – namely, whether the FDA properly approved the Pfizer Vaccine based on

adequate data and information.          The FDA, which is committed to transparency, should

immediately release the information PHMPT seeks in the FOIA Request.

        53.     Because the FDA denied PHMPT’s request for expedited processing, PHMPT is

entitled to immediately seek relief in this Court. 5 U.S.C. § 552(a)(6)(E)(iii).

                                           Requested Relief

WHEREFORE, Plaintiff prays that this Court:

        a.      Provide for expeditious proceedings in this action;

        b.      Enter an Order directing the FDA to produce all documents responsive to the FOIA

                Request on an expedited basis and in no event later than 10 days from the date of


61
   https://www.whitehouse.gov/covidplan/ (last visited 9/13/2021). See also https://www.cnn.com/2021/09/09/
politics/joe-biden-covid-speech/index.html (last visited 9/13/2021).

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             any such order;

      c.     Award Plaintiff its costs and reasonable attorneys’ fees incurred in this action as

             provided by 5 U.S.C. § 552(a)(4)(E); and

      d.     Grant such other and further relief as the Court may deem just and proper.



Dated: September 16, 2021

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